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                                                             THE HONORABLE JAMES L. ROBART
 1

 2

 3

 4

 5
                                      UNITED STATES DISTRICT COURT
 6                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 7
       AUBRY MCMAHON,                                        Case No.: 2:21-cv-00920-JLR
 8
                        Plaintiff,                           PLAINTIFF’S RENEWED MOTION
 9
                                                             FOR SUMMARY JUDGMENT ON
10               v.                                          AFFIRMATIVE DEFENSES

11     WORLD VISION, INC.,                                   NOTE ON MOTION CALENDAR:
                                                             OCTOBER 20, 2023
12                      Defendant.
13

14               Plaintiff Aubry McMahon proved that Defendant World Vision, Inc., discriminated against
15   her on the basis of sex, sexual orientation, and marital status in violation of federal and state law by
16   rescinding her employment offer because she was in a same-sex marriage. Dkt. 44. In accordance
17   with this Court’s orders of July 24, 2023 (Dkt. No 44), August 14, 2023 (Dkt. No. 49), and August
18   21, 2023 (Dkt. 51), Plaintiff renews her motion for summary judgment on Defendant’s affirmative
19   defenses. All of World Vision’s five remaining affirmative defenses fail as a matter of law and 303
20   Creative LLC v. Elenis, 143 S. Ct. 2298 (2023), has no application to the present case.
21          I.        APPLICABLE SUMMARY JUDGMENT STANDARDS
22          Under Fed. R. Civ. P. 56, “either party may move for summary judgment, identifying each
23   claim or defense—or the part of each claim or defense—on which summary judgment is sought.”
24   Verkist v. U.S., C21-0721JLR-DWC, 2022 WL 17586014, at *2 (W.D. Wash. Dec. 12, 2022).
25   Summary judgment is appropriate if the evidence, viewed in the light most favorable to the
26   nonmoving party, demonstrates that there is no genuine dispute as to any material fact and the


     PLAINTIFF’S RENEWED                                                               FRANK FREED
     MOTION FOR SUMMARY JUDGMENT - 1                                             SUBIT & THOMAS LLP
                                                                       Suite 1200 Hoge Building, 705 Second Avenue
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 1   movant is entitled to judgment as a matter of law. Id. A fact is “material” if it “might affect the

 2   outcome of the suit under the governing law.” Id.

 3          Where, as here, the moving party does not bear the ultimate burden of persuasion at trial as

 4   to the issues on which summary judgment is sought, the moving party has both an initial burden of

 5   production and the ultimate burden of persuasion on the motion for summary judgment. Id. The

 6   moving party must either produce evidence negating an essential element of the nonmoving party’s

 7   defense or show that the nonmoving party does not have enough evidence of an essential element to

 8   carry its ultimate burden of persuasion at trial. Id. If the moving party meets its burden of production,

 9   the burden then shifts to the nonmoving party to identify specific facts from which the jury could

10   reasonably find in the nonmoving party’s favor. Id. If the defendant fails to meet this burden the

11   plaintiff is entitled to summary judgment on the affirmative defense. Id. at *4.

12          II.      NEITHER THE TITLE VII NOR THE WLAD RELIGIOUS
13                   ORGANIZATION EXEMPTIONS BAR PLAINTIFF’S CLAIMS

14          Defendant erroneously asserts that Plaintiff’s claims are barred pursuant to Title VII’s

15   religious employer exemption. That provision reads in its entirety:
16
              [42 U.S.C. §§ 2000e et seq.] shall not apply to an employer with respect to the
17            employment of aliens outside any State, or to a religious corporation, association,
              educational institution, or society with respect to the employment of individuals of a
18            particular religion to perform work connected with the carrying on by such
              corporation, association, educational institution, or society of its activities.
19
     42 U.S.C. § 2000e-1(a).
20
            It is settled law in the Ninth Circuit that this provision bars only religious discrimination
21
     claims brought against a religious employer. Spencer v. World Vision, Inc., 633 F.3d 723, 724 (9th
22
     Cir. 2011) (per curiam) (“World Vision, Inc. qualifies as an entity exempt under 42 U.S.C. § 2000e-
23
     1(a) from Title VII’s general prohibition against religious discrimination”). “The Ninth Circuit…has
24
     squarely limited the federal exemption to barring claims of religious discrimination, holding that
25
     while ‘religious institutions may base relevant hiring decisions upon religious preferences, they are
26
     not immune from liability for discrimination’ on other grounds protected by Title VII.” Richardson

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 1   v. Northwest Christian Univ., 242 F. Supp. 3d 1132, 1153 (D. Or. 2017) (quoting EEOC v. Fremont

 2   Christian Sch., 781 F.2d 1362, 1366 (9th Cir. 1986) (internal punctuation omitted)).

 3          “[A]lthough Congress permitted religious organizations to discriminate in favor of members

 4   of their faith, religious employers are not immune from liability for discrimination based on … sex

 5   ….” EEOC v. Pacific Press Pub. Ass’n., 676 F.2d 1272, 1276 (9th Cir. 1982). “The legislative

 6   history shows that Congress consistently rejected proposals to allow religious employers to

 7   discriminate on grounds other than religion: ‘(church-affiliated) organizations remain subject to the

 8   provisions of Title VII with regard to race, color, sex or national origin.’” Id. at 1277 (quoting

 9   Section by Section Analysis of H.R. 1746, The Equal Employment Opportunity Act of 1972, 1972

10   Legis. Hist. 1845; 118 Cong. Rec. 7167).

11          Defendant previously attempted to recast Plaintiff’s claims as ones alleging religious

12   discrimination, but this Court’s order of July 24, 2023, forecloses this argument. Dkt. No. 44. That

13   Defendant’s discrimination was motivated by a sincerely held religious objection to same-sex

14   marriage does not bring Plaintiff’s claims within the purview of the Title VII religious organization

15   exemption. See, e.g., Fremont Christian School, 781 F.2d at 1364-65, 1366 (religious school which

16   paid men health benefits but denied such benefits to similarly situated women because of sincerely

17   held religious belief that men are the “heads of the household” not entitled to assert Title VII

18   religious employer exemption). A solid wall of Ninth Circuit authority dating back more than 40

19   years holds that the Title VII religious employer exemption does not bar Plaintiff’s claims.

20          Although the WLAD religious employer exemption is not limited to religious discrimination

21   claims, it applies only to discrimination claims brought by employees who fall under the First

22   Amendment ministerial exception. Woods v. Seattle’s Union Gospel Mission, 197 Wn.2d 231, 250,

23   481 P.3d 1060 (2021), cert. denied, 142 S. Ct. 1094 (2022). “The Woods opinion informed religious

24   organizations that an applicant or employee is permitted to bring an employment discrimination

25   claim against an organization if the position for which the applicant applies or the employee holds

26   is non-ministerial.” Union Gospel Mission of Yakima, WA v. Ferguson, 1:23-CV-3027-MKD, 2023


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 1   WL 5674119, at *6 (E.D. Wash. Sep. 1, 2023). As set forth below, Plaintiff’s job as a customer

 2   service representative did not qualify for the ministerial exception.

 3          III.      DEFENDANT CANNOT SHOW PLAINTIFF’S DONOR/CUSTOMER
 4                    SERVICE REPRESENTATIVE JOB FELL WITHIN THE FIRST
                      AMENDMENT’S MINISTERIAL EXCEPTION
 5
                      A. The Ministerial Exception Applies only to “Certain Important Positions”
 6                       with “Vital Religious Duties”
 7            The ministerial exception is an “affirmative defense … not a jurisdictional bar.” Hosanna-
 8   Tabor Evangelical Lutheran Church & School v. EEOC, 565 U.S. 171, 195 n.4 (2012). Therefore,
 9   an employer who asserts the ministerial exception as a defense has the burden of proving it.
10   Fitzgerald v. Roncalli High School, Inc., 73 F.4th 529, 531 (7th Cir. 2023). Even when the record
11   evidence is viewed in a light most favorable to World Vision, Defendant cannot meet its burden of
12   persuasion that the customer service representative position for which Plaintiff was hired qualifies
13   for the ministerial exception.
14            The U.S. Supreme Court first recognized the ministerial exception in Hosanna-Tabor. The
15   Court held that the determination of whether a particular employee qualifies as a minister should be
16   made on a case-by-case basis, stating “[w]e are reluctant, however, to adopt a rigid formula for
17   deciding when an employee qualifies as a minister.” Id. at 190. In Hosanna-Tabor, the Supreme
18   Court relied on the following factors to find the exception applied: “the formal title given [to the
19   employee],…the substance reflected in that title, [the employee’s] own use of that title, and the
20   important religious functions…the employee performed for the Church.” Id. at 192. The Supreme
21   Court revisited the ministerial exception in Our Lady of Guadalupe School v. Morrissey-Berru, 140
22   S. Ct. 2049 (2020). In that case, the Court clarified the Hosanna-Tabor test and ruled that the
23   ministerial exception applied to employees with “vital religious duties” as part of “playing a vital
24   part in carrying out the mission of the church.” Id. at 2066. Courts are “to take all relevant
25   circumstances into account and to determine whether each particular position implicate[s] the
26   fundamental purpose of the exception.” Id. at 2067.


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 1             The ministerial exception is based on the principle that the antidiscrimination laws cannot

 2   constitutionally intrude on a religious organization’s “selection of the individuals who play certain

 3   key roles” within the organization. Id. at 2060 (emphasis supplied). “[C]ourts are bound to stay out

 4   of employment disputes involving those holding certain important positions with churches or other

 5   religious institutions.” Id. (emphasis supplied). “Ministers” have “a role distinct from that of most

 6   of [the religious organization’s] members.” Hosanna-Tabor, 565 U.S. at 191.

 7             A religious employer “cannot show entitlement to the ministerial exception simply by

 8   asserting that everyone on its payroll is a minister or by requiring that all employees sign a ministerial

 9   contract.” Fitzgerald, 73 F.4th at 531-32. Hosanna Tabor and Our Lady of Guadulupe “make clear

10   that the ministerial exception does not apply to everyone employed by a religious entity.” Palmer v.
11   Liberty Univ., 72 F.4th 52, 71 (4th Cir. 2023) (Motz, J., concurring) (emphasis in original). “[T]he
12   ministerial exception is just that— an exception, applicable only to a subset of a religious entity’s
13   employees.” Id. Merely having “religious responsibilities” does not make the employee a minister.
14   Trotter v. United Lutheran Seminary, No. 20-570, 2021 WL 3271233, at *4 (E.D. Pa. July 30, 2021).
15   “Determination of whether the ministerial exception applies hinges on whether Plaintiff ‘performed
16   vital religious duties’ as part of playing ‘a vital part in carrying out the mission of the [religious
17   organization].’” Richter v. Archdiocese of Kansas City in KS, Case No. 21-cv-252- SAC-TJJ, 2022
18   WL 3017318, at *7 (D. Kan. July 29, 2022).
19             Whether the ministerial exception applies “is a multi-factored, fact-specific inquiry.”
20   Fitzgerald, 73 F.4th at 531. The Supreme Court’s clarification of the ministerial exception in Our
21   Lady of Guadulupe did not render the Hosanna-Tabor factors irrelevant. See, e.g., id.; Ratliff v.
22   Wycliffe Assocs., Inc., Case No. 6:22-cv-1185-PGB-RMN, 2023 WL 3688082, at *4 (M.D. Fla. May
23   26, 2023); Palmer v. Liberty Univ., Case No. 6:20-cv-31, 2021 WL 6201273, at *5-8 (W.D. Va.
24   Dec. 1, 2021), vacated and appeal dismissed, 72 F.4th 52 (4th Cir. 2023). Rather, Our Lady of
25   Guadulupe instructs courts to apply the Hosanna Tabor factors as appropriate but also to engage in
26   “a holistic consideration” of “what [the] Plaintiff does.” Ratliff, 2023 WL 3688082 at *4.


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 1                     B. The Hosanna-Tabor Factors Show Plaintiff Was Not Hired to Be a Minister

 2              In deciding whether a defendant has proven that the ministerial exception applies, a court

 3   should consider, among other things: (1) the formal title given to the plaintiff, (2) the substance

 4   reflected in that title, (3) the plaintiff’s use of that title, and (4) whether the plaintiff performed

 5   important religious functions. Fitzgerald, 73 F.4th at 531. Here, the first two factors weigh heavily

 6   against the ministerial exception, the third does not apply, and, as set forth in the following section,

 7   Plaintiff would not have performed important religious functions for World Vision.

 8              In or around November or December 2020, Plaintiff saw a job posting for the position of

 9   customer service representative with Defendant on the website Indeed.com. Exh. 9, at 139:18-22;

10   148:22-25; Exh. 10, at 12:3-8.1 According to the job description, a customer service representative

11   fields inbound calls and makes outbound calls to donors and potential donors utilizing a “standard

12   script” in order to “sell” and “up-sell” those individuals on World Vision products and programs.

13   Exh. 1. After interviewing McMahon for the position, Defendant made a verbal job offer to her on

14   January 4, 2021. Exh. 11, at 46:24-47:6; 112:10-14. Plaintiff was sent a formal offer letter the next

15   day. Exh. 3; Exh. 11, at 47:24-48:6. It stated: “On behalf of [Defendant], I am pleased to provide

16   you with this letter as written confirmation of our verbal offer for the full-time position of

17   Donor/Customer Service Representative (DCR Trainee) commencing 2/1/2021.” Exh. 3. Defendant

18   rescinded its job offer three days later, after learning Plaintiff was in a same-sex marriage. Exh. 6.

19              The employee’s job title is the first “relevant circumstance” as to whether the ministerial

20   exception applies. Our Lady of Guadalupe, 140 S. Ct. at 2062. “Simply giving an employee the title

21   of ‘minister’ is not enough to justify the exception. And by the same token, since many religious

22   traditions do not use the title ‘minister,’ it cannot be a necessary requirement.” Id. at 2063-64.

23   However, an employee’s job title can show whether “the recipient has been given an important

24   position of trust” and “evidence[] the importance attached to her role.” Id. at 2063.

25              A court should “determine whether the wording of the title coneys a religious—as opposed

26
     1
      All exhibits cited herein (i.e., as “Exh. __”) are references to exhibits attached to the Declaration of Casimir Wolnowski
     dated April 11, 2023, Dkt. No. 25.

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 1   to secular—meaning.” Conlon v. Intervarsity Christian Fellowship/USA, 777 F.3d 829, 834 (6th Cir.

 2   2015). Here, the relevant job title was “donor/customer service representative.” Nothing about this

 3   title implies the position is ministerial in nature. The job title is purely secular. Religious traditions

 4   use many different titles to describe those into whose hands “[t]he members of a religious group put

 5   their faith…,” Hosanna-Tabor, 565 U.S. at 188, but “customer service representative” is not among

 6   them. Cf. Conlon, 777 F.3d at 834-35 (“pastor,” “reverend,” “priest,” “bishop,” or “rabbi,” “spiritual

 7   director” and “spiritual formation specialist” are titles that identify as somebody covered by the

 8   ministerial exception).

 9             Critically, Defendant does not hold customer service representatives out to the public as

10   ministers. Cf. Hosanna-Tabor, 565 U.S. at 191. There is no requirement that a candidate for this

11   position have any formal religious educational training. Exh. 10, at 13:13-21. In fact, there is no

12   requirement to have had any religious training whatsoever. Id. at 14:22-15:3. The only formal

13   education requirement for the customer service representative position is to be a high school graduate

14   or have a GED equivalent. Id. at 13:22-14:3. There is no process for commissioning as a minister

15   upon the conclusion of customer service representative training. Id. at 15:19-16:3.

16             In sum, “nothing about [Plaintiff’s] job title or the way that [Defendant] held her out

17   indicates that she was a minister.” Palmer, 2021 WL 620127, at *5.

18                   C. Plaintiff Would Not Have Performed                     Ministerial         Duties       as    a
19                      Donor/Customer Service Representative

20                     1. The Customer Service Representative Position was “at Bottom” a Secular
                          One
21
               The central inquiry in determining whether an employee falls within the ministerial
22
     exception is not what the employer does but what the employee does. “What matters, at bottom, is
23
     what an employee does.” Our Lady of Guadalupe, 140 S. Ct. at 2064. Here, Defendant rescinded
24
     Plaintiff’s employment as Donor/Customer Service Representative before she ever performed that
25
     position. Therefore, what Plaintiff would have “done” is gleaned from the job description that
26
     Defendant posted. See Butler v. St. Stansilaus Kostka Catholic Academy, 609 F. Supp. 3d 184, 196


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 1   (E.D.N.Y. 2022) (where employee is terminated before performing the job, court should look to job

 2   description for “what an employee does”). The section entitled “The Job” reads:

 3            As a Customer Service Representative, you will participate in a training program to
 4            gain a working knowledge and understanding of the position and to perform the
              essential functions of the job at a level of performance that consistently meets
 5            expectations. You will learn, understand and develop the skills necessary to acquire
              and maintain donor relationships through basic inbound and outbound calls. Serve
 6            as a liaison between donors and the general public as well as provide basic levels of
              customer service for all special programs. Help carry out our Christian organization’s
 7
              mission, vision, and strategies. Personify the ministry of World Vision by witnessing
 8            to Christ and ministering to others through life, deed, word and sign. You will also
              …
 9
              1. Keep Christ central in our individual and corporate lives. Attend and participate
10            in the leadership of devotions, weekly Chapel services, and regular prayer.
11
              2. Maintain reliable, regular attendance. Report to work on time and return from
12            breaks and lunches on time.

13            3. Under supervision, learn to answer inbound customer service calls and make
              outbound calls, to current and potential donors in response to all media presentations
14            and World Vision products and services. Answer incoming calls using an Automated
              Call Distribution system utilizing a standard script for guidance. Recognize and
15
              respond to up-sell opportunities and actively cross-sell other [World Vision]
16            programs when appropriate.

17            4. Through training and active participation, gain the skills necessary to assess
              callers’ needs and input information accurately and efficiently using data entry and
18            ten-key skills.
19
              5. Achieve and maintain an acceptable level of individual statistics to accomplish
20            Call Center business goals.

21            6. Develop skills to utilize technology for maintaining and updating donor
              information as appropriate.
22

23            7. Accepts constructive feedback and welcomes instruction and direction.

24            8. Under supervision, research and effectively respond to inquiries utilizing a variety
              of resource materials and methods.
25
              9. Learn and effectively communicate World Vision’s involvement in ministries and
26            projects around the world.


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                10. Work collaboratively with team members.
 1

 2              11. Be sensitive to Donor’s needs and pray with them when appropriate.

 3              12. Perform other duties as assigned.

 4              13. Keep informed of organizational announcements, activities and changes via
                regular reading of the WVUS Intranet and other corporate communication
 5
                tools.
 6
     Exh. 1.
 7
               A holistic consideration of this job description demonstrates that Plaintiff would not have
 8
     performed “vital religious duties.” The job description is not for a role that is important “in the life
 9
     of the religion.” Cf. Our Lady of Guadalupe, 140 S. Ct. at 2066. As the job description makes clear,
10
     the main duties of the customer service representative position related to furthering Defendant’s
11
     charitable activities. The essential function of the customer service representative position was to
12
     “learn, understand and develop the skills necessary to acquire and maintain donor relationships
13
     through basic inbound and outbound calls. … [s]erve as a liaison between donors and the general
14
     public as well as provide basic levels of customer service for all special programs.” Exh. 1.
15
                Customer service representatives receive inbound calls from individuals who are
16
     “potentially existing donors or may be looking to donate” or customer service representatives will
17
     “make outbound calls to existing donors.” Exh. 10, at 22:10-18. Customer service representatives
18
     learn of existing donors’ identities through access to a database maintained by Defendant. Exh. 10,
19
     at 22:19-23. Donors are predominantly Christian, but not exclusively. Exh. 10, at 22:24-23:4. Donors
20
     are not members of World Vision. Id. Melanie Freiberg (“Freiberg”), who held the position of “HR
21
     Director talent management,” Exh. 13, at 11:14-16, was Defendant’s 30(b)(6) designee. She agreed
22
     that the main duty of a customer service representative is to “acquire and maintain donor
23
     relationships through the basic inbound and outbound calls.” Exh. 10, at 20:20-24.
24
               In its original motion for summary judgment, Defendant claimed the customer service
25
     representative job description showed that Plaintiff “would be a ‘crucial member’ of [donor customer
26
     services] and a ‘key liaison’ and ‘voice of World Vision’ to [their] donors and the general public.’”


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 1   Dkt. No. 26 at p. 26. However, the job description for a “call center customer service representative”

 2   containing these duties was posted on March 7, 2022, Exh. 1 to Declaration of Casimir Wolnowski

 3   (May 1, 2023), Dkt. No. 31, at WV000186. That was more than a year after the date Plaintiff’s job

 4   offer was rescinded, and notably, nearly eight months after the present lawsuit was filed.

 5   Significantly, the terms “crucial member,” “key liaison,” and “voice of World Vision” do not appear

 6   in the job posting for which Plaintiff applied. This alone undermines Defendant’s argument that the

 7   job for which it hired Plaintiff qualifies for the ministerial exception.

 8             Although not dispositive, the amount of time an employee spends on secular versus

 9   religious duties is relevant to whether that employee falls within the ministerial exception. Hosanna-

10   Tabor, 565 U.S. at 194. Here, it is undisputed that Plaintiff would have spent most of her time

11   performing secular customer service duties. Moreover, of the 13 enumerated components of the job

12   description, ten are entirely secular. Only three even touch-upon religion:

13             Help carry out our Christian organization’s mission, vision, and strategies.
14             Personify the ministry of World Vision by witnessing to Christ and ministering to
               others through life, deed, word and sign;
15
               Keep Christ central in our individual and corporate lives. Attend and participate in
16             the leadership of devotions, weekly Chapel services, and regular prayer; and,
17
               Be sensitive to Donor’s needs and pray with them when appropriate.
18
     The first two religious aspects of the customer service representative position were equally
19
     applicable to every other employee of World Vision. As for the third, it is undisputed that praying
20
     with donors was not a job requirement of the customer service representative position.
21
                      2. All World Vision Employees Must Participate in Chapel Services
22
            All World Vision employees are expected to participate in chapel services. All staff members
23
     regularly participate in “prayer activities,” Dkt. No. 26 at p. 25. An entire workday is set aside each
24
     year for prayer which all staff must attend. Dkt. No. 28, at ¶ 26. Freiberg’s declaration states that a
25
     guidebook (which is referred to as the “Orange Book”) is made available to all employees of World
26
     Vision upon hire and its purpose is to help employees “better understand, comply with, and carry

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 1   out World Vision’s mission, vision, and core values.” Dkt. No. 28, at ¶53. Under the heading which

 2   reads “Weekly Chapel,” the Orange Book states, in relevant part: “World Vision staff are invited

 3   and expected to worship every week (usually Wednesday) in an organization-wide chapel in Federal

 4   Way, [Washington] (or in the Washington, D.C. office).” Dkt. No. 28, Exh. 29, at WV000718. It is

 5   undisputed that all World Vision employees are expected to participate in chapel, as Defendant

 6   admitted in its original summary judgment motion. Dkt. No. 26 at p. 25. That customer service

 7   representatives are expected to participate in chapel does not differentiate them from any other World

 8   Vision employee and does not make them “ministers.”

 9           Freiberg made clear at her deposition that while there is an expectation for World Vision

10   staff members to attend chapel, “leading chapel is not [a job requirement]” and leading chapel for a

11   customer service representative depends on “interest and desire to lead.” Exh. 13, at 22:11-23. It is

12   also worth mentioning that around the time Plaintiff would have begun working for Defendant (i.e.,

13   early February 2021), weekly chapel was conducted virtually, and there was only one weekly service

14   for all World Vision employees to attend. Exh. 11, at 123:16-124:10. Thousands of employees

15   logged into an online virtual platform to “attend” chapel, usually on Wednesdays. There was no

16   expectation for them to lead chapel. Nothing about World Vision’s expectations with respect to

17   customer service representatives’ participation in chapel brings them within the ministerial

18   exception.
                       3. Even Assuming that Customer Service Representatives Were Required to
19                        Lead Devotions, that Was Equally True for Most Other Employees
20          With respect to Defendant’s claim that customer service representatives had to “attend and
21   participate in the leadership of devotions,” even assuming these were actual job requirements, they
22   were equally required of almost every other World Vision employee. Exh. 11, at 124:24-125:7; Exh.
23   13, at 22:11-19; Dkt. No. 26 at p. 25. This undisputed fact cuts against Defendant’s assertion that
24   customer service representatives were ministers.
25          Participating in devotions is required of every World Vision employee. Exh. 11, at 124:24-
26   125:7; Exh. 13, at 22:11-19. Defendant believes that teaching the word of the Lord is an essential


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                                                                      Suite 1200 Hoge Building, 705 Second Avenue
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 1   function of every position at World Vision on account of merely working “in a Christian organization

 2   and bearing witness of Christ.” Id. at 17:3-21. Freiberg testified that every customer service

 3   representative or trainee was required to attend “devotions” when the “entire donor contact center

 4   shuts down.” Id. at 43:18-44:3. Freiberg characterized participating in devotions as an “indirect”

 5   way in which World Vision staff members teach the word of the Lord and that this is accomplished

 6   through “sharing Scripture” or “things that they have heard [ ] within their church.” Id. at 16:4-16.

 7   Freiberg believes teaching the word of the Lord is a main function simply by virtue of “being

 8   Christian,” Id. at 18:7-21, and being a “representative of Christ.” Id. at 16:22-25.

 9          A document entitled “WVUS Devotion Guidelines” is disseminated to all World Vision staff

10   members, Dkt. No. 28 at ¶ 55. It sets forth World Vision employees’ responsibilities regarding

11   “leading devotions.” “Leadership of devotions” is “a part of every WVUS job description” and it is

12   contemplated that leading devotions rotates among all staff members. Exh. 3 (emphasis added).

13   These Guidelines also state that for staff members who are not comfortable leading devotions, it is

14   suggested they “ask [ ] another staff member to co-lead with them.” When Freiberg was asked

15   whether leading devotions was an obligatory function of a customer service representative, she

16   responded unequivocally at her initial deposition—which was held on February 16, 2023—that the

17   expectation is to “participate in devotions” rather than to lead. Exh. 13, at 22:5-16. She also testified

18   that each team within World Vision determines whether the responsibilities of leading those

19   devotions are shared among team members. Exh. 13, at 22:15-19. Further, when asked whether it

20   would be a disqualifier for employment if an employee outright refused to lead as opposed to being

21   merely a participant, Freiberg replied: “To lead a devotion … would not be a required expectation.”

22   Exh. 13, at 23:16-25:18.

23          However, at Freiberg’s second deposition—which was conducted March 10, 2023—she

24   contradicted her prior testimony that the leading of devotions was an encouraged task rather than a

25   required one. She testified on March 10, 2023, that every customer service representative or trainee

26   is “required to attend devotions and to ultimately lead devotions.” Exh. 10, at 43:18-20. A party


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 1   cannot create a triable issue of fact by contradicting its own prior sworn deposition testimony. See,

 2   e.g., Harris v. City of Seattle, 315 F. Supp. 2d 1105, 1111 (W.D. Wash. 2004). Accordingly, this

 3   Court should disregard Freiberg’s second deposition testimony that customer service representatives

 4   are required to lead devotions. Even if this Court were to credit that testimony, it would still not be

 5   a basis to find the ministerial exception applicable to customer service representatives. As noted just

 6   above, “leadership of devotions” is “a part of every WVUS job description.” Exh. 3.

 7          Even assuming leading devotions is a “religious duty” for all World Vision employees, it is

 8   a minor one. All World Vision staff members are permitted to spend a maximum of 45 minutes per

 9   week involved in devotions (whether it be leading one or merely being present at one). Accordingly,

10   in any given week, assuming a World Vision staff member is leading the devotion for the entirety

11   of the sessions (which would go against the idea of rotating leadership), “leading devotions” would

12   amount to less than two percent of a full-time employee’s work week.

13          One of the significant factors in determining whether an employee falls within the ministerial

14   exception is whether she had “a role distinct from that of most of [the organization’s] members.”

15   Hosanna-Tabor, 565 U.S. at 191. World Vision’s own documents show that customer service

16   representatives’ participation in chapel and leading devotions was no different from most of the

17   organization’s other employees. The limited extent to which customer service representatives

18   participate in chapel services and devotions does not make them ministers, any more than such

19   participation makes every other World Vision employee a minister.

20                    4. It is Undisputed that Praying with Donors or Potential Donors was not a
21                       Job Requirement of the Customer Service Representative Position
            The eleventh enumerated requirement of the customer service representative job description
22
     reads: “Be sensitive to Donor’s needs and pray with them when appropriate.” Thus, the customer
23
     service representative job description encourages but does not mandate those employees to pray
24
     with potential donors. Freiberg confirmed that while praying with donors is encouraged, it is not a
25
     job requirement. Exh. 10, at 24:2-11. In a “guidance document” bearing the heading “Showing
26
     Empathy on a Call During a Crisis (Talking Points)”—which was a document used to assist customer

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 1   service representatives in communicating with donors—under each heading there is a sentence

 2   which reads: “If comfortable, offer to pray with the donor over the phone.” Id. at 26:20-25; Exh. 14.

 3   Freiberg testified that this sentence informs customer service representatives that they have a choice

 4   to offer to pray with donors, rather than it being mandatory, and that “there is not … disciplinary

 5   action if [the customer service representatives] don’t pray [with donors].” Exh. 10, at 30:14-23.

 6          Defendant provides to all its employees a document entitled “Giving Word to Our Faith

 7   Framework” (abbreviated shorthand as “GWF Framework”), which “references [Defendant’s]

 8   beliefs in terms of what [it] believe[s], what [it] experiences in the world, and how [it] guide[s]

 9   messaging around our Christian faith.” Id. at 32:5-12. The GWF Framework states: “The Giving

10   Word to our Faith messaging framework is guidance to enable us to speak boldly and

11   unapologetically to people of various contexts about what our faith and Christian identity mean for

12   our work.” Exh. 7. Further, a handbook on the GWF Framework advises that it is intended to be

13   utilized “[t]o create clarity and understanding about how our faith influences our work.” Exh. 8, at

14   p. WV-006121.

15          The framework document states: “The examples provided below are indicative only and

16   based on insights about contextual audiences gathered during workshops. End users will need to

17   articulate their own insights for their audiences and apply the framework accordingly.” Exh. 7.

18   Freiberg made clear that these two sentences communicate to employees that it is their choice

19   whether or not to implement these ideas and “provides some discretion on how to utilize [the

20   framework].” Exh. 10, at 40:15-21. The GWF Framework confirms that praying with donors is

21   encouraged but not required of customer service representatives.

22            In sum, the job duties of the customer service representative position for which World

23   Vision hired McMahon were overwhelmingly secular: acquiring and maintaining donors through

24   inbound and outbound telephone calls. The limited, religious aspects of the position were either

25   equally applicable to nearly all other World Vision employees or optional. A religious employer has

26   a First Amendment right to require its employees to perform religious functions, but doing so does


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 1   not make the employees a “minister” under the First Amendment. If all employees have similar

 2   religious roles within a religious organization, then none “play certain key roles,” hold “certain

 3   important positions,” or perform “a role distinct from that of most of its members,” and the

 4   ministerial exception does not apply to any of those employees. The donor/customer service duties

 5   Plaintiff would have performed for World Vision do not “implicate[] the fundamental purpose of the

 6   exception.” Our Lady of Guadalupe, 140 S. Ct. at 2067.

 7                   D. Other Cases Involving the Ministerial Exception Demonstrate Its
 8                      Inapplicability to the Donor/Customer Service Representative Position
             The job responsibilities of a customer service representative are distinctly different from
 9
     those of religious-school teachers and counselors, the positions about which litigation in this subject
10
     area has recently predominated. In Hosanna-Tabor, the plaintiff, Perich, was employed by an
11
     evangelical Lutheran church and school as a “called teacher” who taught a religion class four days
12
     a week and led her students in prayer three times a day. 565 U.S. at 192. Perich held herself out as a
13
     minister and the church held her out as a minister as well. Id. at 191-92. In Our Lady of Guadalupe,
14
     the plaintiff was employed by a Roman Catholic primary school as a “lay fifth or sixth grade teacher”
15
     and part of the curriculum she taught included religion. 140 S. Ct. at 2056. Like the teacher in
16
     Hosanna-Tabor, the teacher in Our Lady of Guadalupe “performed vital religious duties.” Id. at
17
     2066. Underlying both these decisions was the Supreme Court’s recognition that “educating young
18
     people in their faith, inculcating its teachings, and training them to live their faith are responsibilities
19
     that lie at the very core of the mission of a private religious school.” Id. at 2064.
20
             Butler v. St. Stansilaus Kostka Catholic Academy, 609 F. Supp. 3d 184 (E.D.N.Y. 2022), also
21
     involved a Catholic school teacher and is a straightforward application of Our Lady of Guadalupe.
22
     In sharp contrast to the customer service representative position here, the job to which Butler applied
23
     required “a practicing Catholic committed to the mission of Catholic education.” 609 F. Supp 3d at
24
     194. Butler’s employment contract required him “to teach and convey the Roman Catholic Faith”
25
     and “to include the Church’s teachings within the content/subject matter of all subjects.” Id. Butler
26
     received “ministerial training in his orientation.” Id. at 198. “Butler was not only terminated from a

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 1   ministerial position at St. Stans—he was terminated from that position after expressing discomfort

 2   with the ministerial aspects of the position.” Id. Butler is far removed from the present case.

 3           Starkey v. Roman Catholic Archdiocese of Indianapolis, Inc., 41 F.4th 931 (7th Cir. 2022),

 4   and Fitzgerald v. Roncalli High School, Inc., 73 F.4th 529 (7th Cir. 2023), are also easy cases after

 5   Our Lady of Guadalupe. Starkey and Fitzgerald were co-Directors of Guidance at a Catholic school.

 6   41 F.4th at 940; 73 F.4th at 532. Starkey was a member of the school’s Administrative Council and

 7   was “entrusted with communicating the Catholic faith to children, supervising guidance counselors,

 8   and advising the principal on matters related to the school’s religious mission.” 41 F.4th at 940. She

 9   also had the responsibility of “guiding the religious mission of the school.” Id. Starkey was also “one

10   of the school leaders responsible for the vast majority of [its] daily ministry, education and

11   operations.” Id. (internal quotation omitted). Likewise, Fitzgerald was “one of a handful of key,

12   visible leaders of the school.” 73 F.4th at 532 (internal punctuation omitted). Both Fitzgerald and

13   Starkey participated in the school’s religious leadership committee. Id. at 532-33. Both Starkey and

14   Fitzgerald held themselves out as ministers. Id. Accordingly, the ministerial exception barred both

15   Starkey’s and Fitzgerald’s discrimination claims. Starkey, 41 F.4th at 942; Fitzgerald, 73 F.4th at 534.

16           However, not every employee of a religious organization who has some religious

17   responsibilities falls within the ministerial exception. In Palmer v. Liberty Univ., Case No. 6:20-cv-

18   31, 2021 WL 6201273, at *5 (W.D. Va. Dec. 1, 2021), vacated and appeal dismissed, 72 F.4th 52

19   (4th Cir. 2023), the plaintiff was an art professor for a Christian university. The court found that the

20   plaintiff’s job duties were primarily secular even though she started each class session with a prayer

21   and attended convocation with her students. The plaintiff had no formal religious training. Id. at *15.

22   Neither the plaintiff nor the school held her out as a minister. The fact that the plaintiff and the school

23   regarded her as a “Christian teacher” did not make her a minister. Id. at *14. The court concluded

24   that because “the core function” of the plaintiff’s job was secular, the ministerial exception did not

25   apply to plaintiff’s position, even though she performed some religious functions. Id. at *22. “Palmer

26   was not a key religious figure….” Palmer v. Liberty Univ., 72 F.4th 52, 74 (4th Cir. 2023) (Motz, J.,


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                                                                         Suite 1200 Hoge Building, 705 Second Avenue
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 1   concurring). “The ministerial exception, as interpreted by the Supreme Court, simply does not apply

 2   to Palmer.” Id.

 3           DeWeese-Boyd v. Gordon College, 487 Mass. 31, 63 N.E.3d 1000 (2021), cert. denied, 142

 4   S. Ct. 942 (2022), also shows that just because an employee performs some religious functions for a

 5   religious organization, that does not bring her within the ministerial exception. There, the college

 6   argued that the ministerial exception applied to an associate professor of social work because the

 7   integration of religion into daily life and work is part of the college’s mission for everyone in its

 8   employ, “whether they be coaches, food service workers, or transportation providers.” Id. at 54.

 9   Massachusetts’ highest court disagreed. “The integration of religious faith and belief with daily life

10   and work is a common requirement in many, if not all, religious institutions.” Id. “While it may be

11   true that…Christians have an undeniable call to minister to others,” that does not make all Christians

12   “necessarily ministers” under Our Lady of Guadalupe and Hosanna-Tabor. Id. at 48 (internal

13   quotation marks omitted); see also Richardson v. Northwest Christian Univ., 242 F. Supp. 2d 1132,

14   1145 (D. Or. 2017) (distinguishing being “a Chrisitan” from being a “a minister”).

15           The Massachusetts Supreme Judicial Court recognized that expanding the ministerial

16   exception beyond those “‘individuals who play certain key roles’ in a religious institution” to all

17   employees who integrate faith into their work would have enormous consequences and result in the

18   “elimination of civil law protection against discrimination….” DeWeese-Boyd, 487 Mass. at 48

19   (quoting Our Lady of Guadalupe, 140 S. Ct. at 2060); Id. at 54. “[T]he potential for conflict between

20   the[] fundamental legal principles” of First Amendment religious autonomy and the right to obtain

21   and hold employment without discrimination on the basis of sexual orientation or another legally

22   protected characteristic “is therefore of obvious and great concern, not only to the individual

23   plaintiffs, but also for our civil society and religious institutions.” Id. at 42.2

24           As Plaintiff was not hired to be a religious school teacher, the grounds for applying the

25
       2   Concurring in the denial of certiorari, Justice Alito questioned the Massachusetts Supreme Judicial Court’s
26     “understanding of religious education” but did not disagree with the state court’s general pronouncements regarding
       the ministerial exception. 142 S. Ct. 952, 954-55. Indeed, Justice Alito re-emphasized that the ministerial exception is
       limited to “the selection of the employees who play ‘certain key roles’” in the religious institution. Id. at 954.

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 1   ministerial exception here are even weaker than in Palmer and DeWeese-Boyd. This case is much

 2   more similar to Ratliff v. Wycliffe Assocs., Inc., Case No. 6:22-cv-1185-PGB-RMN, 2023 WL

 3   3688082 (M.D. Fla. May 26, 2023), where the court held that a software developer for a Bible

 4   translation company did not fall within the ministerial exception. The plaintiff’s job title there was

 5   “Software Developer II,” and his primary duty was to develop software for Bible translation. Id. at

 6   *1. The employer terminated the plaintiff when it learned he had entered into a same-sex marriage.

 7   Id. at *2. The plaintiff brought a Title VII claim for sexual orientation discrimination. Id. The

 8   employer argued that the plaintiff qualified “as a minister of Defendant’s religious mission” because

 9   the express conditions of his employment required him to “‘sense a call from God to ministry’ and

10   meet Defendant’s ‘high standards for spirituality and the Christian faith.’” Id. at *5 (internal

11   punctuation omitted). The plaintiff’s job description included “having ‘a personal relationship with

12   Jesus Christ’ and sensing ‘a call from God to ministry.’” Id. at *5 n. 8. The court held that this was

13   “a far cry from accepting a job akin to a minister.” Id. at *5 “Defendant did not bestow Plaintiff with

14   a ministerial title nor anything even remotely similar….” Id. The plaintiff in Ratliff did not hold

15   himself out as a minister. Id. “[N]either the Plaintiff’s title nor the fundamental nature of his position

16   persuades the Court that he was anything but a secular employee.” Id.

17          Like the customer service representative position here, the software developer position in

18   Ratliff “did not reflect any degree of religious training, much less subsequent formal recognition” as

19   minister. Id. The employer in Ratliff argued, similar to World Vision here, that the plaintiff was a

20   minister because his job duties were “essential to Defendant’s mission to share the Christian faith

21   with unreached people groups around the world.” Id. at *6. In rejecting this argument, the Ratliff

22   court contrasted the nature of the plaintiff’s duties as a software developer with the key roles that

23   employees in Hosanna-Tabor and Our Lady of Guadalupe played in religious instruction. Id. at *6.

24   While McMahon’s customer service role would have required her to interact directly with World

25   Vision’s customers, unlike the position in Ratliff, it is equally true here that “the plaintiffs in

26   Hosanna-Tabor and Our Lady of Guadalupe played a far different role in conveying their religious


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                                                                        Suite 1200 Hoge Building, 705 Second Avenue
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 1   organizations’ message and carrying out their mission than did Plaintiff.” Id. (internal punctuation

 2   omitted). Just like the plaintiff in Ratliff, McMahon did not have an “idiosyncratic religious title,

 3   background, education, or function.” Id. And just like the plaintiff in Ratliff, McMahon’s role at

 4   World Vision fell “outside the intended scope of the ministerial exception.” Id.

 5          “[T]he ministerial exception has been carefully circumscribed to avoid unnecessary conflict

 6   with civil law.” DeWeese-Boyd, 484 Mass. at 54. Where the exception applies, an employee has no

 7   recourse under either federal or state anti-discrimination laws. See Id. at 42. Title VII was enacted

 8   to implement the Equal Protection Clause of the Fourteenth Amendment. Fitzpatrick v. Bitzer, 427

 9   U.S. 445 (1976). The laws against workplace discrimination in Washington are “an explicit, well-

10   defined, and dominant public policy.” Int’l Union of Operating Engineers v. Port of Seattle, 176

11   Wn.2d 712, 721, 295 P.3d 736 (2013). “It is no exaggeration to say that the ministerial exception

12   condones animus.” Palmer v. Liberty Univ., 72 F.4th 52, 74 (4th Cir. 2023) (Motz, J., concurring)

13   (internal quotation omitted). “When it comes to key religious figures, this is a necessary tradeoff.”

14   Id. However, an employee who is not a key religious figure “does not shed her right to be free from

15   religious discrimination simply because she believes in God, prays at work, and is employed by a

16   religious entity.” Id. While Defendant has the constitutional right “to choose those who will guide it

17   on its way,” Hosanna-Tabor, 565 U.S. at 196, the First Amendment does not give Defendant a carte

18   blanche exemption from the laws against employment discrimination. See DeWeese-Boyd, 487

19   Mass. at 42; Palmer, 72 F.4th at 74 (Motz, J., concurring).

20          The undisputed facts here demonstrate that the customer service representative position does

21   not qualify for the ministerial exception. Therefore, Plaintiff is entitled to summary judgment on

22   Defendant’s ministerial exception affirmative defense.

23          IV.     DEFENDANT’S REMAINING AFFIRMATIVE DEFENSES FAIL AS A
24                  MATTER OF LAW
              In Bostock, “the Court identified three potential avenues of legal recourse for religious and
25
     faith-based employers to shield themselves from any potential infringement of their religious rights”
26
     as a result of the Court’s holding that Title VII prohibits discrimination on the basis of sexual

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 1   orientation. Braidwood Mgt. Inc., v. EEOC, 70 F.4th 914, 918 (5th Cir. 2023) (emphasis supplied).

 2   Those avenues are (1) Title VII’s religious employer exemption, (2) the ministerial exception, and

 3   (3) the Religious Freedom Restoration Act of 1993 (“RFRA”), 42 U.S.C. §§ 2000bb-2000bb-4. Id.

 4   RFRA applies only to cases where the government is a party and is not one of the defenses before

 5   the Court. See Dkt. No. 40 n.3.

 6          Defendant’s prior summary judgment filings did not identify a single instance where a court

 7   has accepted a Bona Fide Occupational Qualification (“BFOQ”), Free Exercise Clause, or

 8   Expressive Association affirmative defense in a case where a religious employer has facially

 9   discriminated against an employee or applicant based on her sexual orientation. That’s because the

10   Title VII religious exemption and First Amendment ministerial exception provide full protection to

11   religious employers’ constitutional rights. Where, as here, those two affirmative defenses do not

12   apply, there are no other special affirmative defenses available to religious employers who have

13   engaged in facial employment discrimination in violation of federal and state law.

14          A. Defendant Cannot Establish a BFOQ Defense Under Title VII or the WLAD
15
              Title VII’s BFOQ defense provides as follows:
16
              [I]t shall not be an unlawful employment practice for an employer to hire and employ
17            employees, for an employment agency to classify, or refer for employment any
              individual, for a labor organization to classify its membership or to classify or refer
18
              for employment any individual, or for an employer, labor organization, or joint labor-
19            management committee controlling apprenticeship or other training or retraining
              programs to admit or employ any individual in any such program, on the basis of his
20            religion, sex, or national origin in those certain instances where religion, sex, or
              national origin is a bona fide occupational qualification reasonably necessary to the
21            normal operation of that particular business or enterprise.
22
     42 U.S.C. § 2000e-2(e)(1).
23
              “The BFOQ defense is written narrowly, and this Court has read it narrowly.” Int’l Union,
24
     United Auto., Aerospace & Agr. Implement Workers of Am., UAW, v. Johnson Controls, Inc., 499
25
     U.S. 187, 201 (1991). The BFOQ defense is “meant to be an extremely narrow exception to the
26
     general prohibition to general prohibition of discrimination on the basis of sex.” Dothard v.

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     Rawlinson, 433 U.S. 321, 334 (1977). Title VII “limits the situations in which discrimination is
 1

 2   permissible to ‘certain instances’ where sex discrimination is ‘reasonably necessary’ to the ‘normal

 3   operation’ of the ‘particular’ business.” Johnson Controls, 499 U.S. at 201. “Each one of these

 4   terms…prevents the use of general subjective standards and favors an objective, verifiable
 5
     requirement.” Id. “But the most telling term is ‘occupational’; this indicates that these objective,
 6
     verifiable requirements must concern job-related skills and aptitudes.” Id. “By modifying
 7
     ‘qualification’ with ‘occupational,’ Congress narrowed the term to qualifications that affect an
 8
     employee’s ability to the job.” Id.
 9

10            To escape summary judgment on a BFOQ defense, the employer must raise a genuine issue

11   whether (1) its facially discriminatory policy is reasonably necessary to the normal operation of its
12   particular business, and (2) the policy concerns job-related skills and aptitudes. Frank v. United
13
     Airlines, Inc., 216 F.3d 845, 855 (9th Cir. 2000). The “employer must show ‘a high correlation’
14
     between a qualification and ability to perform job functions.” EEOC v. Kamehameha
15
     Schools/Bishop Estate, 990 F.2d 458, 466 (9th Cir. 1993) (quoting Johnson Controls, 499 U.S. at
16

17   202). Defendant cannot meet that burden here.

18            Similar to the Title VII BFOQ defense, the WLAD BFOQ applies “narrowly to jobs for

19   which a particular quality of protected status will be essential to or will contribute to the
20   accomplishment of the purposes of the job.” WAC 162-16-240. To establish a BFOQ under
21
     Washington law, the employer must show that “excluding members of a particular protected status
22
     group is essential to the purposes of the job.” Hegwine v. Longview Fibre Co., 162 Wn.2d 340, 358,
23
     172 P.3d 688 (2007) (internal quotation marks omitted). Furthermore, the employer must “establish
24

25   that all or substantially all persons in the excluded class would be unable to efficiently perform the

26   duties of the position at issue, and the essence of the operation would be undermined by hiring


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                                                                      Suite 1200 Hoge Building, 705 Second Avenue
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     anyone in that excluded class.” Id. (internal quotation marks omitted).
 1

 2            Defendant’s Title VII and WLAD BFOQ defenses both fail as a matter of law. The job

 3   Defendant offered Plaintiff was that of a donor/customer service representative. Defendant has a

 4   facially discriminatory hiring policy that precludes the employment of individuals in same-sex
 5
     marriages. Put another way, Defendant requires married employees to be in a heterosexual marriage
 6
     as a condition of employment. Such a requirement does not even constitute an “occupational
 7
     qualification” within the meaning of Title VII because the requirement in no way relates to the “job-
 8
     related skills and aptitudes” of a donor/customer service representative. Nor can Defendant show
 9

10   that its ban on hiring donor/customer service representatives in same sex-marriage is essential to the

11   purposes of the job, that people in same sex marriages would be unable to efficiently perform the
12   duties of the position at issue, and the essence of Defendant’s operation would be undermined by
13
     hiring anyone in a same-sex marriage as a donor/customer service representative. Whether Plaintiff
14
     was in a same-sex or heterosexual marriage had no impact on her ability to do the customer service
15
     representative job. Indeed, donors would have had no way of knowing whether Plaintiff was in a
16

17   heterosexual marriage, a same-sex marriage, divorced, or single.

18            The only Ninth Circuit case that Defendant initially cited in support of its BFOQ defenses,

19   EEOC v. Kamehameha Schools/Bishop Estate, found the defense inapplicable. That case involved
20   a private school that required all teachers to be Protestant. Both the EEOC and the schools moved
21
     for summary judgment on the schools’ BFOQ defense as applied to teachers other than those in
22
     religious education. The district court ruled in favor of the schools, but the Ninth Circuit reversed.
23
     The appellate court held that that there was no evidence “that adherence to the Protestant faith is
24

25   essential to the performance of this job.” 990 F.2d 466. Likewise, there is no evidence that Plaintiff’s

26   being in a same-sex marriage would have interfered with her ability to perform the essential


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     functions of her job as customer service representative. Defendant’s Title VII BFOQ defense fails
 1

 2   as a matter of law and fails a fortiori under the stricter requirements of the WLAD.

 3             Plaintiff is entitled to summary judgment on World Vision’s BFOQ defenses.

 4           B. The Free Exercise Clause and the Right of Expressive Association Do Not Immunize
                Defendant from Statutory Prohibitions on Employment Discrimination
 5
               Defendant asserts the statutory prohibitions on sex, sexual orientation, and marital status
 6
     discrimination set forth in Title VII and the WLAD abridge its First Amendment freedoms of religion
 7
     and of expressive association and trigger strict scrutiny. As set forth below, these contentions are
 8
     contrary to established precedent. But it is important to recognize the breadth of Defendant’s
 9
     constitutional challenges to existing federal and state discrimination law. Congress deliberately
10
     included religious organizations within Title VII’s prohibition on sex discrimination. Religious
11
     organizations are subject to the statutory prohibitions on employment discrimination set forth in RCW
12
     49.60. Defendant is asking this Court to declare these legislative determinations unconstitutional.
13
             If this Court were to give serious consideration to Defendant’s argument that Plaintiff’s
14
     claims under Title VII and the WLAD against it are unconstitutional then this court must, under 28
15
     U.S.C. § 2403, certify to the Attorney General of the United States that there is a constitutional
16
     challenge to a federal statute, and to certify to the Washington Attorney General that there is a
17
     constitutional challenge to a state statute. See, e.g., Lucarelli v. Hershey Co., Case No. C07-
18
     1314RSM, 2007 WL 3010425, at *1 (W.D. Wash. Oct. 11, 2007). However, because Defendant’s
19
     constitutional challenges to Title VII and WLAD are without merit, the Court can reject them without
20
     going through the certification required by 28 U.S.C. § 2403.
21

22           1. Title VII and the WLAD are Not Subject to Strict Scrutiny Because they are Neutral
                with Respect to Religion and Generally Applicable
23
             “[L]aws incidentally burdening religion are ordinarily not subject to strict scrutiny under the
24
     Free Exercise Clause so long as they are neutral and generally applicable.” Fulton v. City of
25
     Philadelphia, 141 S. Ct. 1868, 1876 (2021) (citation omitted). “[T]here is no general constitutional
26
     immunity, over and above the ministerial exception, that can protect a religious institution from the


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 1   law’s operation.” Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct

 2   2367, 2397 n.1 (2020) (Kagan, J., concurring in the judgment). Both Title VII and the WLAD are

 3   neutral and generally applicable within the meaning of Fulton. Where the challenged law is “neutral

 4   and generally applicable,” courts employ rational basis review, which asks whether the government

 5   action at issue is “rationally related to a legitimate governmental purpose.” Stormans, Inc. v.

 6   Wiesman, 794 F.3d 1064, 1084 (9th Cir. 2015).

 7          A law is not neutral with respect to religion “when it proceeds in a manner intolerant of

 8   religious beliefs or restricts practices because of their religious nature.” Fulton, 141 S. Ct. at 1877.

 9   That cannot be said of either Title VII or the WLAD. Both statutes require the accommodation of

10   religious beliefs and practices. E.g., Groff v. DeJoy, 143 S. Ct. 2279 (2023); Kumar v. Gate Gourmet

11   Inc., 180 Wn.2d 481, 325 P.3d 193 (2014). Title VII is “a permissible content neutral regulation of

12   conduct.” Wisconsin v. Mitchell, 508 U.S. 476, 487 (1993); “Title VII neither regulates religious

13   beliefs, nor burdens religious acts, because of their religious motivation. On the contrary, it is clear

14   that Title VII is a secular, neutral statute.…” Vigars v. Valley Christian Ctr of Dublin, CA, 805 F.

15   Supp. 802, 809 (N.D. Cal. 1992).

16          “A law is not generally applicable if it invites the government to consider the particular

17   reasons for a person’s conduct by providing a mechanism for individualized exemptions.” Fulton,

18   141 S. Ct. at 1877 (quoting Employment Division, Dep’t of Human Resources v. Smith, 494 U.S.

19   872, 884 (1990)) (internal punctuation omitted). “A law also lacks general applicability if it prohibits

20   religious conduct while permitting secular conduct that undermines the government’s asserted

21   interests in a similar way.” Fulton, 141 S. Ct. at 1877. Title VII and the WLAD are both generally

22   applicable laws under these tests. Neither statute provides individualized exemptions from their

23   blanket prohibitions on employment discrimination based on the defendant’s particular reasons for

24   committing unlawful discrimination. Indeed, it is Defendant who would destroy these statutes’

25   general applicability by carving out a special constitutional exemption for employers who engage in

26   unlawful discrimination for religious reasons.


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 1           Free exercise claims “must fail if prohibiting the exercise of religion...is not the object of the

 2   law but merely the incidental effect of a generally applicable and otherwise valid provision....”

 3   American Friends Service Committee Corp. v. Thornburgh, 951 F.2d 957 (9th Cir. 1991) (quoting

 4   Smith, 494 U.S. at 878) (internal punctation omitted). The Ninth Circuit has already rejected

 5   Defendant’s contention that the First Amendment prohibits application of Title VII to facially

 6   discriminatory conduct that is religiously motivated. In EEOC v. Fremont Christian School—which

 7   was decided before Smith adopted rational basis review for generally applicable laws that are neutral

 8   with respect to religion—the employer argued that applying Title VII to its policy of supplying health

 9   insurance only to male heads of household would violate the First Amendment because that policy

10   was “grounded in religious belief.” 781 F.2d 1362, 1367 (9th Cir. 1986). Applying strict scrutiny, the

11   Ninth Circuit disagreed. Id. at 1368. “By enacting Title VII, Congress clearly targeted the

12   elimination of all forms of discrimination as a highest priority. Congress’ purpose to end

13   discrimination is equally if not more compelling than other interests that have been held to justify

14   legislation that burdened the exercise of religious convictions.” Id. at 1368-69 (internal punctuation

15   omitted). Fremont Christian School’s conclusion applies a fortiori under rational basis review.

16           RCW 49.60 is a “neutral, generally applicable law subject to rational basis review.” State v.

17   Arlene’s Flowers, Inc., 193 Wn.2d 469, 523, 441 P.3d 1203 (2019), cert. denied, 141 S. Ct. 2884

18   (2021). “And the WLAD clearly meets that standard.” Id.

19           Fremont Christian Schools and Arlene’s Flowers dispose of Defendant’s Free Exercise

20   challenge to the constitutionality of Plaintiff’s sex, sexual orientation, and marital status

21   discrimination claims. Plaintiff is entitled to summary judgment on that affirmative defense.

22           2. There is No Expressive Association Defense to Employment Discrimination Claims

23           In Hishon v. King & Spalding, 467 U.S. 69, 78 (1984), the Supreme Court unanimously

24   rejected the argument that application of Title VII’s prohibition on sex discrimination to a law firm

25   partnership infringed on the employer’s constitutional rights of expression association. “Invidious

26   private discrimination may be characterized as a form of exercising freedom of association protected


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 1   by the First Amendment, but it has never been accorded affirmative constitutional protections.” Id.

 2   (internal punction omitted). Hishon establishes that there is no First Amendment expressive

 3   association defense to statutory employment discrimination claims.

 4          In its prior summary judgment filings, Defendant ignored Hishon and asserted that Boy

 5   Scouts of Am. v. Dale, 530 U.S. 640 (2000), shows that World Vision has a First Amendment

 6   expressive association defense to Plaintiff’s statutory employment discrimination claims. Dale held

 7   that New Jersey’s prohibition on sexual orientation discrimination in public accommodation did not

 8   require the Boy Scouts to admit a gay assistant scoutmaster. Id. at 643. The majority reasoned that

 9   the presence of an openly gay scoutmaster “would significantly burden the Boy Scouts’ desire to

10   not promote homosexual conduct as a legitimate form of behavior,” and because Dale was “a gay

11   rights activist” having him as scoutmaster would send a message “both to the youth members and

12   the world, that the Boy Scouts accepts homosexual conduct as legitimate form of behavior.” Id. at

13   653 (internal quotations omitted).

14          Dale made clear that its holding was “not to say an expressive association can erect a shield

15   against antidiscrimination laws simply by asserting that mere acceptance of a member from a

16   particular group would impair its message.” Id. “The forced inclusion of an unwanted person in a

17   group infringes the group’s freedom of expression if the presence of that person affects in a

18   significant way the group’s ability to advocate public or private viewpoints.” Id. at 648. That was

19   true in Dale because he was a leader in the gay Scouts community, id. at 653, but not true in Roberts

20   v. U.S. Jaycees, 468 U.S. 609 (1984), which rejected an expressive association challenge to

21   enforcement of a state law prohibiting sex discrimination in public accommodations in a private

22   organization. “We are persuaded that Minnesota’s compelling interest in eradicating discrimination

23   against its female citizens justifies the impact that application of the statute to the Jaycees may have

24   on the male members’ associational rights.” Id. at 623.

25          More than one court has rejected Defendant’s contention that Dale bars enforcement of Title

26   VII’s anti-discrimination prohibitions against religious institutions. Billard v. Charlotte Catholic


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 1   High School, No. 3:17-cv-00011, 2021 WL 4037431, at *22 (W.D.N.C Sept. 3, 2021), appeal filed,

 2   (Apr. 25, 2022); Starkey v. Roman Catholic Archdiocese of Indianapolis, 496 F. Supp. 3d 1195,

 3   1208 (S.D. Ind. 2020). In Billard, the plaintiff claimed he was fired from his substitute teaching

 4   position because of his sexual orientation. 2021 WL 4037431 at *1. Relying “almost entirely” on

 5   Dale, the defendants argued the plaintiff’s claims were barred by freedom of expressive association.

 6   Id. at *23. Billard correctly recognized that there are “critical aspects of the Dale decision that make

 7   it inapplicable to this case.” Id. Dale involved a private membership organization in which the

 8   plaintiff was a volunteer. Id. Dale concerned public accommodations law, not employment

 9   discrimination law. Id. The Boy Scouts expressly acknowledged that they would have been subject

10   to laws prohibiting discrimination in employment based on sexual orientation. Id. (quoting Dale,

11   530 U.S. 672, Stevens, J., dissenting). The constitutional violation in Dale was that the state had

12   “tried to require the group to propound a point of view contrary to its beliefs by directing its

13   membership choices.” 303 Creative LLC v. Elenis, 143 S. Ct. 2298, 2312 (2023) (internal quotations

14   omitted).

15          Billard acknowledged that the plaintiff’s decision to marry his partner was “not in keeping

16   with Catholic teachings” and “while retaining Plaintiff implicates Defendants’ expressive mission,

17   it does not significantly do so.” Id. at * 24. “Even though there is some impairment of Defendant’s

18   expressive activities, Title VII is sufficiently compelling to warrant its application here.” Id. The

19   ministerial exception and the statutory carve out for religious employers with respect to religious

20   discrimination claims showed Title VII was “narrowly tailored” and did not unnecessarily interfere

21   with First Amendment freedoms. Id. Therefore, the First Amendment right to expressive association

22   did not bar the plaintiff’s statutory employment discrimination claims.

23          Starkey similarly rejected the assertion that freedom of association preluded a claim of sexual

24   orientation discrimination against a religious organization that opposed homosexuality on religious

25   grounds. 496 F. Supp. 3d at 1209. “Dale does not require anti-discrimination laws to give way

26   automatically in the face of a freedom of association defense asserted by an expressive


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                                                                       Suite 1200 Hoge Building, 705 Second Avenue
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 1   organization.” Id. at 1208. Applying Title VII to a religious employer does not implicate the issues

 2   that concerned the Supreme Court in Dale. Id. Dale did not arise in the employment context and did

 3   not overrule Hishon. Id. The plaintiff in Dale “sought membership in a private organization.” Id. at

 4   1209. Furthermore, “if a religious employer could simply assert a freedom of association defense

 5   and defeat a discrimination claim…the ministerial exception is unnecessary.” Id.

 6          Billard’s and Starkey’s analysis of freedom of expressive association and employment

 7   discrimination law is persuasive. Hishon controls this case, not Dale. This Court should grant

 8   Plaintiff’s motion for summary judgment on Defendant’s expressive association defense.

 9           C. Fifty Years Ago, the Supreme Court Ruled that the Free Speech Clause does not
10              Provide a Defense to Laws that Prohibit Facially Discriminatory Hiring Practices
                and 303 Creative LLC Doesn’t Affect that Controlling Precedent
11
              In Pittsburgh Press Co. v. Pittsburgh Commission on Human Relations, 413 U.S. 376
12
     (1973), the Supreme Court ruled that there is no First Amendment Free Speech defense to laws that
13
     prohibit facially discriminatory employment practices. There, a local human relations commission
14
     held that a newspaper had violated a city ordinance by using an advertising system that published
15
     employment opportunities under headings designating job preference by sex. Id. at 377-78. The
16
     newspaper claimed that the commission’s decision violated the First Amendment by restricting the
17
     newspaper’s editorial judgment. Id. at 381. The Court acknowledged that the advertisements were
18
     commercial speech and the law at issue implicated the newspaper’s First Amendment interests. Id.
19
     at 381-82. Enforcement of the anti-discrimination law would “affect the make-up of the help-wanted
20
     section of the newspaper…. Pittsburgh Press will be required to abandon its present policy of
21
     providing sex-designated columns and allowing advertisers to select the columns in which their help-
22
     wanted advertisements will be placed.” Id. at 383-84. The Court, however, rejected the newspaper’s
23
     First Amendment challenge: “Discrimination in employment is not only commercial activity, it is
24
     illegal commercial activity….” Id. at 388. Pittsburgh Press establishes that the First Amendment
25
     does not provide a Free Speech defense to laws prohibiting facially discriminatory employment
26
     practices.


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 1             Nothing in 303 Creative LLC v. Elenis, 143 S. Ct. 2298 (2023), affects the Court’s decision

 2   in Pittsburgh Press. The plaintiff in 303 Creative had sought an injunction prohibiting the State from

 3   forcing her to create wedding websites celebrating same-sex marriages, which contradicted her

 4   personal beliefs. Id. at 2308. The issue in 303 Creative was whether a state could use “its [public

 5   accommodations] law to compel an individual to create speech she does not believe.” Id. at 2308.

 6   The majority framed the question thus: “Can a State force someone who provides her own expressive

 7   services to abandon her conscience and speak its preferred message instead?” Id. at 2318. The

 8   majority ruled that doing so violated the Free Speech Clause of the First Amendment. The majority

 9   explicitly disavowed the dissent’s assertion that the Court’s opinion permitted discrimination against

10   “members of a protected class.” Id. (“we do no such thing”).

11             303 Creative did not involve employment discrimination and Plaintiff’s case does not

12   involve compelled speech. This Court’s enforcement of the federal and state prohibitions on sex,

13   sexual orientation, and marital status discrimination in employment will not require World Vision

14   to “speak” a message with which it disagrees. And even if it did, Pittsburgh Press makes clear that

15   the Free Speech Clause does not provide a constitutional defense to the enforcement of laws that

16   prohibit facially discriminatory employment practices. Accordingly, this Court should rule that 303

17   Creative does not provide World Vision with an affirmative defense to its discrimination against

18   Plaintiff in violation of federal and state law.

19        V.      CONCLUSION
20
          This Court should grant Plaintiff’s renewed Motion for Summary Judgment on Affirmative
21
     Defenses and set a trial solely on the issue of damages.
22

23

24

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 1

 2         RESPECTFULLY SUBMITTED, this 22nd day of September 2023.

 3                                  FRANK FREED SUBIT & THOMAS LLP

 4                                       By: /s/ Michael C. Subit
                                         Michael C. Subit, WSBA No. 29189
 5
                                         705 Second Avenue, Suite 1200
 6                                       Seattle, Washington 98104
                                         Phone: (206) 682-6711
 7                                       Fax: (206) 682-0401
                                         Email: msubit@frankfreed.com
 8
                                         I certify that this memorandum contains 10,372
 9
                                         words in compliance with the Court’s Order of April
10                                       5, 2023 (Dkt 21)

11                                 NISAR LAW GROUP, P.C.
12                                       By: /s/ Casimir Wolnowski
                                         Casimir Wolnowski
13
                                         One Grand Central Place
14                                       60 East 42nd Street, Suite 4600
                                         New York, New York 10165
15                                       Phone: (646) 889-1007
                                         Fax: (516) 604-0157
16                                       Email : cwolnowski@nisarlaw.com
17                                       Admitted Pro Hac Vice

18                                       Attorneys for Plaintiff

19

20

21

22

23

24

25

26


     PLAINTIFF’S RENEWED                                                  FRANK FREED
     MOTION FOR SUMMARY JUDGMENT - 30                               SUBIT & THOMAS LLP
                                                          Suite 1200 Hoge Building, 705 Second Avenue
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                                                                          (206) 682-6711
